                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                   GREENEVILLE DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )   NO. 2:10-CR-00110-RLJ
                Plaintiff,                        )   NO. 2:13-CV-171
                                                  )
        vs.                                       )
                                                  )
ANDRES LINARES,                                   )
                                                  )
                                                  )
                Defendant.


                                MEMORANDUM AND ORDER
         Defendant has filed a motion to vacate, set aside or correct his sentence [Doc. 1101]. The

United States has filed a response, objecting to the requested relief [Doc. 1106]. The matter is

now ripe for disposition.

I.       PROCEDURAL AND FACTUAL BACKGROUND

         On January 11, 2011, the Grand Jury returned a superseding indictment charging

Defendant, along with 35 others, with participating in a conspiracy to distribute more than five

(5) kilograms of mixture and substance containing a detectable amount of cocaine, a Schedule II,

controlled substance, and a conspiracy to distribute more than 100 kilograms or more of

marijuana both in violation of 21 U.S.C. § 841(a)(1). He was also charged in two substantive

counts of distributing those controlled substances. [Doc. 214].         On September 30, 2011,

Defendant entered a plea agreement in which he agreed to plead guilty to a conspiracy to

distribute and possess with the intent to distribute 5 kilograms or more of cocaine, which

exposed him to a statutory minimum mandatory term of imprisonment of ten (10) years. See 21

U.S.C. § 841(b)(1)(A).       The plea agreement contains an extensive recitation of Title III

intercepted telephone conversations between Defendant and his co-conspirators showing an

                                                 1

     Case 2:10-cr-00110-RLJ-MCLC         Document 1234         Filed 07/19/16     Page 1 of 10
                                         PageID #: 5937
extensive distribution network involving cocaine and marijuana, which involved hundreds of

thousands of dollars. [Doc. 578, pg. 2-14]. On November 1, 2011, Defendant appeared before

the District Court and entered his plea.

        At the guilty plea hearing, the District Court asked Defendant whether he understood

what he was pleading to. He responded by saying “I was told the minimum was ten years.”

[Doc. 1104, pg. 12]. The Assistant United States Attorney reiterated this to the Defendant by

advising him he was facing “a minimum mandatory term of imprisonment of ten years and up to

life….” [Doc. 1104, pg. 14].

        The Presentence Report calculated Defendant’s advisory guideline range as 121-151

months, with a statutory minimum mandatory term of imprisonment of 120 months. The PSR

increased his guideline range by three (3) levels because it found that Defendant’s role in the

offense was as a “manager or supervisor” and that the criminal activity involved five or more

participants or was otherwise extensive. See U.S.S.G. § 3B1.1(b). The PSR then reduced his

offense level by three levels for acceptance of responsibility, ending with an offense level of 32

and a criminal history category of I.

        Defendant submitted two objections to the PSR. First, he objected to the PSR increasing

Defendant’s offense level by three levels for his role in the offense pursuant to U.S.S.G. §

3B1.1(b). Second, he objected to the failure of the PSR to apply the Safety Valve provisions of

18 U.S.C. § 3553(f)(1-5) and U.S.S.G. § 5C1.2. The United States also objected to the PSR not

enhancing Defendant’s guideline range for obstruction of justice. 1

        At sentencing, the District Court conducted an evidentiary hearing on both parties’

objections. The United States called the special agent for the FBI to testify about the facts


1  The United States sought to increase Defendant’s offense level for his fleeing the scene of a
traffic stop, taking with him a substantial amount of drug proceeds.
                                                 2

    Case 2:10-cr-00110-RLJ-MCLC            Document 1234      Filed 07/19/16     Page 2 of 10
                                           PageID #: 5938
relative to the objections raised. The agent testified that Tomas Estrada Sarabia (“Sarabia”)

operated a drug trafficking organization that spanned from the Tri-Cities to Hamblen County and

into Knox County and involved the distribution of, on average, two kilograms of cocaine a

month. The agent indicated there were 36 defendants indicted for their involvement in this drug

enterprise, including Defendant, and over 40 other individuals who were involved but were not

indicted. He indicated that Defendant’s place in the conspiracy was the supplier to Sarabia.

[Doc. 1105, pg. 6].

       The agent testified that a Title III wiretap of Defendant’s phone revealed that Defendant

had an associate, Mr. Valiente, (“Valiente”), who would accompany him to many of the

meetings Defendant had with Sarabia to collect money or distribute narcotics.         Defendant

provided direction to Valiente in the distribution of cocaine and instructed him to take care of

Sarabia’s demand for additional narcotics in case of Defendant’s absence. He also testified to

Defendant’s extensive involvement in overseeing the distribution of cocaine in East Tennessee.

       After taking proof, the District Court first addressed Defendant’s role enhancement

objection under U.S.S.G. § 3B1.1(b) for being a “manager or supervisor.” The District Court

found the criminal activity to be extensive based on the fact that 36 defendants were charged and

40 were unindicted. [Doc. 1105, pg. 53]. The Court examined the agreed factual basis contained

in the plea agreement and recounted numerous incidences where Defendant exercised a

managerial role in this extensive narcotics conspiracy. Id. at pg. 54-57. The District Court

specifically found that “the Defendant was significantly involved in the planning and organizing

an extensive drug distribution network in this case….The Defendant’s offense level is properly

increased by three for being a manager or supervisor….” [Doc. 57-58].        This ruling mooted

Defendant’s second objection regarding the application of the safety valve. The Court noted that



                                               3

  Case 2:10-cr-00110-RLJ-MCLC          Document 1234         Filed 07/19/16     Page 3 of 10
                                       PageID #: 5939
“because of the upward role adjustment the Defendant is not safety valve eligible,” citing

U.S.S.G. § 5C1.2(a)(4). 2 The District Court also overruled the United States’ objection to the

PSR for not enhancing Defendant’s guideline range for obstruction of justice. [Doc. 1105, pg.

60]. On June 21, 2012, Defendant was sentenced to 124 months imprisonment. [Doc. 1001,

Minute Entry]. The judgment was entered on July 5, 2012 [Doc. 1020].

        On June 21, 2013, Defendant filed the present Motion to vacate under 28 U.S.C. § 2255.

[Doc. 1101]. Defendant alleges in his motion a number of grounds of ineffective assistance of

counsel. First, he alleges that he specifically instructed his attorney to appeal the sentence and

his counsel did not. Second, he claims his counsel was ineffective for failing to argue that

Defendant qualified for a minor role adjustment.         Third, he argues that his counsel was

ineffective for failing to argue for the application of the safety valve, claiming that he had never

before been arrested and that he “was willing to do anything for a safety valve reduction.” [Doc.

1101, pg. 4]. Fourth, he insists that his counsel misrepresented his sentence, claiming his

attorney advised him his sentencing exposure under the guidelines was 87-108 months, but he

actually received a 124 month sentence.

II.     STANDARD OF REVIEW

        A prisoner in federal custody may file a motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255, “claiming the right to be released upon the ground that the

sentence was imposed in violation of the Constitution or laws of the United States, or that the

court was without jurisdiction to impose such sentence, or that the sentence was in excess of the

maximum authorized by law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255.



2 To be eligible for the application of the “Safety Valve” found in U.S.S.G. § 5C1.2, the
defendant cannot be an “organizer, leader, manager, or supervisor of others in the offense….”
Because the District Court found that he was, the safety valve did not apply.
                                                 4

    Case 2:10-cr-00110-RLJ-MCLC           Document 1234        Filed 07/19/16      Page 4 of 10
                                          PageID #: 5940
Relief under § 2255 is limited to: (1) errors involving lack of jurisdiction; (2) constitutional

violations; and (3) those non-constitutional errors that constitute “fundamental defect[s] which

inherently result[ ] in a complete miscarriage of justice.” Reed v. Farley, 512 U.S. 339, 349, 354

(1994) (quoting Hill v. United States, 368 U.S. 424, 428 (1962)); United States v. Addonizio, 442

U.S. 178, 185 (1979).

        Ineffective assistance of counsel is a recognized constitutional violation that, when

adequately shown, warrants relief under § 2255. The two-prong test set forth in Strickland v.

Washington, 466 U.S. 668, (1984), governs claims of ineffective assistance of counsel raised

pursuant to 28 U.S.C. § 2255. See Huff v. United States, 734 F.3d 600, 606 (6th Cir. 2013). To

establish ineffective assistance of counsel, a defendant must show that counsel's performance

was deficient and that the deficient performance prejudiced the defense so as to render the

proceedings unfair and the result unreliable. Strickland v. Washington, 466 U.S. 668, 687 (1984).

In assessing counsel's performance, a court must presume that counsel's questioned actions might

have been sound strategic decisions and must evaluate the alleged errors or omissions from

counsel's perspective at the time the conduct occurred and under the circumstances of the

particular case. Id. at 689. Only when the challenged actions are “outside the range of

professionally competent assistance” will counsel's performance be considered constitutionally

deficient. Id. at 690.

        To warrant relief for a non-constitutional error, Defendant must show a fundamental

defect in the proceeding that resulted in a complete miscarriage of justice or an egregious error

inconsistent with the rudimentary demands of fair procedure. Reed v. Farley, 512 U.S. 339, 354

(1994); Grant v. United States, 72 F. 3d 503, 506 (6th Cir.), cert. denied, 517 U.S. 1200 (1996).




                                                5

  Case 2:10-cr-00110-RLJ-MCLC           Document 1234         Filed 07/19/16     Page 5 of 10
                                        PageID #: 5941
In order to obtain collateral relief under § 2255, a Defendant must clear a significantly higher

hurdle than would exist on direct appeal. United States v. Frady, 456 U.S. 152 (1982).

III.   ANALYSIS

       A.      Ground One - Defendant’s instruction to counsel to file an appeal

       Defendant contends that he instructed his attorney to file an appeal. “I told my attorney to

appeal….” [Doc. 1101, pg. 3]. In response to that allegation, the United States has attached the

affidavit of his prior counsel which claims that Defendant never instructed him to appeal. It cites

to the fact that Defendant did not appeal, but instead timely filed this § 2255 motion.

       If an attorney fails to file an appeal after being specifically instructed to do so by a

defendant, the defendant is entitled to an appeal without regard to a showing that the appeal

would actually have merit, that is, without regard to a showing of actual prejudice. Roe v. Flores-

Ortega, 528 U.S. 470, 477 (2000); accord Ludwig v. United States, 162 F.3d 456, 459 (6th Cir.

1998). Absent proof that a Defendant explicitly directed counsel to file a notice of appeal, a

court considers whether the attorney “consulted with [petitioner] about an appeal” and made “a

reasonable effort to discover [his] wishes.” Flores-Ortega, 528 U.S. at 478, 487. In this

particular case, the United States argues that Defendant has failed to allege that he directed his

attorney to file an appeal. But Defendant specifically states in his motion that “I told my

attorney to appeal, but he said that if I appeal that I would get more time.” [Doc. 1101, pg. 3].

       Both components of the Strickland test apply where the asserted attorney error is the

failure to file an appeal. Flores-Ortega, 528 U.S. at 477. In assessing the claimed error in light

of the deficient-performance prong of the Strickland standard, the Supreme Court has instructed:

               We have long held that a lawyer who disregards specific
               instructions from the defendant to file a notice of appeal acts in a
               manner that is professionally unreasonable. See Rodriquez v.
               United States, 395 U.S. 327, 89 S.Ct. 1715, 23 L.Ed.2d 340

                                                 6

  Case 2:10-cr-00110-RLJ-MCLC            Document 1234         Filed 07/19/16      Page 6 of 10
                                         PageID #: 5942
               (1969); cf. Peguero v. United States, 526 U.S. 23, 28, 119 S.Ct.
               961, 143 L.Ed.2d 18 (1999) (“[W]hen counsel fails to file a
               requested appeal, a defendant is entitled to [a new] appeal without
               showing that his appeal would likely have had merit”). This is so
               because a defendant who instructs counsel to initiate an appeal
               reasonably relies upon counsel to file the necessary notice.
               Counsel's failure to do so cannot be considered a strategic
               decision; filing a notice of appeal is a purely ministerial task, and
               the failure to file reflects inattention to the defendant's wishes.

Id. Thus, an attorney who ignores his client's explicit direction to file an appeal has rendered an

inferior and deficient performance. However, “a defendant's actual ‘request’ is still a critical

element in the Sixth Amendment Analysis. The Constitution does not require lawyers to advise

their clients of the right to appeal.” Id.; see also Regalado v. United States, 334 F.3d 520, 524-

526 (6th Cir. 2003) (failure to file an appeal is not ineffective assistance of counsel where

attorney was not specifically instructed to do so).

       The United States asks this Court to credit counsel’s affidavit which contradicts the

assertions made by Defendant. Under Rule 8 of the Rules Governing Section 2255 Proceedings

in the United States District Courts, the Court is to determine – after a review of the answer and

the records of the case – whether an evidentiary hearing is required. A hearing is not required

where the record conclusively shows that the Defendant is entitled to no relief, such as where

“the Defendant's allegations cannot be accepted as true because they are contradicted by the

record, inherently incredible, or conclusions rather than statements of facts [.]” Huff v. United

States, 734 F.3d 600, 607 (6th Cir. 2013) (citing Arredondo v. United States, 178 F.3d 778, 782

(6th Cir. 1999)). A defendant may, however, be entitled to an evidentiary hearing when he

presents “a factual narrative of the events that is neither contradicted by the record nor inherently

incredible and the government offers nothing more than contrary representations to contradict




                                                 7

  Case 2:10-cr-00110-RLJ-MCLC            Document 1234          Filed 07/19/16      Page 7 of 10
                                         PageID #: 5943
it[.]” Huff, 734 F.3d at 607 (quoting Valentine v. United States, 488 F.3d 325, 334 (6th Cir.

2007) (internal quotation marks omitted)).

       Because Defendant’s allegations and counsel's affidavit present competing factual

accounts, this Court has discretion to conduct an evidentiary hearing to assess the credibility of

the respective parties. E.g., Valentine v. United States, 488 F.3d 325, 333 (6th Cir. 2007)

(suggesting that, with certain exceptions, evidentiary hearings are mandatory where “a factual

dispute arises” in a § 2255 proceeding). At this time, the Court cannot conclusively determine

that Defendant is not entitled to relief, as it lacks sufficient evidence to determine whether

counsel failed to file a notice of appeal on Defendant's behalf. See e.g., Borders v. United States,

No. 11-3402, 2012 U.S. App. LEXIS 26850, at *5 (6th Cir. June 13, 2012) (explaining “district

court should have held an evidentiary hearing” where record suggests that the defendant might

have instructed his attorney ... to file a direct appeal”). Accordingly, the Court will conduct an

evidentiary hearing to determine whether Defendant timely directed his attorney to file a notice

of appeal on his behalf.

       B.      Ground Two – Defendant’s claim that his counsel failed to argue for a minor
               role adjustment

       Defendant alleges that he received ineffective assistance because his counsel failed to

argue for a minor role adjustment. Indeed, U.S.S.G. § 3B1.2 provides for a reduction in the

offense level if the defendant was either a minimal or minor participant in the criminal activity.

But the PSR found that Defendant’s role in the offense was not neutral, but as a manager or

supervisor. In fact, the District Court, after taking proof at the sentencing hearing, specifically

found Defendant was a “manager or supervisor” in the criminal activity that involved five or

more participants or was otherwise extensive. See U.S.S.G. § 3B1.1. Defendant’s counsel

fought for Defendant on this issue.

                                                 8

  Case 2:10-cr-00110-RLJ-MCLC            Document 1234         Filed 07/19/16      Page 8 of 10
                                         PageID #: 5944
       While it is true Defendant’s counsel did not argue for a minor role adjustment, his failure

to do so is not ineffective assistance of counsel under these facts. Indeed, it would have been

pointless for Defendant’s counsel to make such an argument. To be sure, one cannot qualify for

both an aggravating role and a mitigating role in the same criminal activity. They are mutually

exclusive by their own terms. That the District Court found Defendant to be a manager or

supervisor ipso facto excludes a finding that Defendant had a minor role in the offense. It would

be frivolous. Failure to raise a meritless argument does not constitute ineffective assistance of

counsel. See, e.g., Ludwig v. United States, 162 F.3d 456, 459 (6th Cir.1998) (“Counsel was not

required to raise meritless arguments to avoid a charge of ineffective assistance of counsel.”).

His claim is without merit.

       C.      Ground Three – Defendant’s claim that his counsel failed to argue for the
               application of the Safety Valve

       Defendant also alleges that his counsel was ineffective for failing to argue for the

application of the safety valve. To be eligible for the safety valve, the defendant cannot be “an

organizer, leader, manager, or supervisor of others in the offense.” U.S.S.G. 5C1.2(a)(4); see

also 18 U.S.C. § 3553(f)(4).    In this case, that is precisely what the District Court found

Defendant to be. Because Defendant was a manager or supervisor, he was not eligible for a

safety valve reduction. His claim is without merit.

       D.      Ground Four – Defendant’s claim that his counsel misrepresented
               Defendant’s sentencing exposure

       Defendant finally claims that his counsel misrepresented what his sentence would be. He

claims his attorney advised him his sentencing exposure under the guidelines was 87-108

months, but he actually received a 124 month sentence. Interestingly, his claim in this instance

is contradicted by his own testimony before the District Court. At the guilty plea hearing, the



                                               9

  Case 2:10-cr-00110-RLJ-MCLC          Document 1234          Filed 07/19/16     Page 9 of 10
                                       PageID #: 5945
District Court asked Defendant whether he understood what he was pleading to. He responded

by saying “I was told the minimum was ten years.” [Doc. 1104, pg. 12]. The Assistant United

States Attorney also advised Defendant that he was facing “a minimum mandatory term of

imprisonment of ten years and up to life….” [Doc. 1104, pg. 14]. His claim is without merit.

IV.    CONCLUSION

       The Court finds that an evidentiary hearing is necessary to resolve the credibility dispute

regarding whether Defendant instructed his counsel to file an appeal. Defendant is entitled to

counsel at such a hearing. Accordingly, the Court hereby APPOINTS ANGELA MORELOCK,

Esq., a member of the CJA Panel, to serve as counsel for Defendant under the provisions of the

CJA Act, 18 U.S.C. § 3006A, as the Court finds Defendant financially qualified for the

appointment of counsel based on his affidavit filed in the initial criminal proceedings.      The

Court notes that the only claim relevant at the evidentiary hearing is whether Defendant

specifically instructed his counsel to file an appeal.    All the remaining issues have been

addressed by the Court in this Memorandum and Order.

              SO ORDERED:


                                            s/Leon Jordan
                                            United States District Judge




                                               10

 Case 2:10-cr-00110-RLJ-MCLC           Document 1234         Filed 07/19/16     Page 10 of 10
                                       PageID #: 5946
